Case 09-10138-MFW            Doc 12749-15               Filed 01/03/14   Page 1 of 3




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            Case 09-10138-MFW                  Doc 12749-15             Filed 01/03/14             Page 2 of 3
            Case 09-10138-KG              Doc 12688-1          Filed 12/20/13            Page 110 of 124
                                                                                                          Hughes Hubbard & Reed LLP
                                                                                                                  One Battery Park Plaza
                                                                                                         New York, New York 10004-1482
                                                                                                               Telephone: 212-837-6000
                                                                                                                      Fax: 212-422-4726
                                                                                                                    hugheshubbard.com




                                                                   December 13, 2013


VIA EMAIL TO ALL CORE PARTIES



Re: In re Nortel Networks Inc. et ai, Case No. 09-10138 (KG) (Bankr. D. Del.)

       In the Matter of Nortel Networks Corporation et al, Court File No. 09-CL-
       7950 (Ontario Superior Court of Justice)

Dear Counsel,

                As we have previously advised, the Joint Administrators1 and U.K. Pension
Claimants believe that, given the more than 100 fact witness depositions that the parties have
taken to date and the millions of documents that the parties have produced, representative witness
examinations are unnecessary and cannot be justified in light of the substantial additional
expenses and other resources that would be required to prepare for them, conduct them, and
comply with the resulting undertakings. Subject and without prejudice to this position, to
preserve their rights in the event that representative witness examinations go forward, the Joint
Administrators and U.K. Pension Claimants hereby give notice to the Canadian Debtors of the
following subjects on which they would seek representative witness testimony.

        1.  The circumstances surrounding the partial repayment in or around February 2008
of the NNL-NNSA subordinated loan.

       2.      The circumstances surrounding the negotiation and drafting of the Insolvency
Guarantee dated December 21, 2007 and provided by NNL to the Nortel Networks UK Pension
Trust Limited, including the exclusion of administration from the definition of "Insolvency
Event" within that document.

        3.   The conception, proposal, negotiation, and documentation of the Third Addendum
to the MRDA and Schedule A thereto.




1.   Unless otherwise indicated, capitalized terms used herein shall have the same meaning as in the Joint
     Administrators' and U.K. Pension Claimants' Rule 30(b)(6) Deposition Notices dated July 26, 2013.




New York   •   Washington, D.G. ff   Los Angeles   •   Miami   •   Jersey City   *   Kansas City   ss   Paris   •   Tokyo
         Case 09-10138-MFW            Doc 12749-15        Filed 01/03/14     Page 3 of 3
         Case 09-10138-KG         Doc 12688-1        Filed 12/20/13    Page 111 of 124



        4.      The negotiation, reporting, and purported application to the EMEA Entities of the
settlement(s) between Nortel and the Internal Revenue Service and Canada Revenue Agency that
resulted in a $2 billion adjustment in favor of NNI in or around January 2010.

        5.      Post-petition models for valuing or assessing the potential revenues from (a) the
intellectual property assets sold in the Residual Patents Sale or any portion thereof, or (b) a
Residual IP Co., which were prepared by, with, or at the request of Nortel, the Global IP Law
Group, or Lazard.
                                               ***



               The Joint Administrators and U.K. Pension Claimants reserve all rights, including
with respect to the appropriate scope and use of any representative witness examinations that are
ultimately conducted.


                                                      Sincerely,



                                                      /s/ Neil J. Oxford




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